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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


US DOMINION, INC., et al.,

Plaintiffs/Counter-Defendants,

       v.                                    Civil Action No. 1:21-cv-00040 (CJN)

SIDNEY POWELL, et al.,

Defendants/Counter-Plaintiffs.



US DOMINION, INC., et al.,

               Plaintiffs,

       v.                                    Civil Action No. 1:21-cv-00213 (CJN)

RUDOLPH W. GIULIANI,

               Defendant.



US DOMINION, INC., et al.,

Plaintiffs/Counter-Defendants,

       v.                                    Civil Action No. 1:21-cv-00445 (CJN)

MY PILLOW, INC., et al.,

Defendants/ Counter- and Third- Party
Plaintiffs,

      v.

SMARTMATIC USA CORP., et al.,

Third-Party Defendants.
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                               AMENDED SCHEDULING ORDER

   Upon review of the Parties’ Stipulated Motion to Amend Scheduling Order, the Court enters

the following schedule to govern discovery in all of the above-captioned cases:

   1. Deadline to Serve Document Requests under Fed. R. Civ. P. 34: May 5, 2023

   2. Deadline for Completion of Fact Discovery: September 22, 2023

   3. Deadline for Proponents to Designate Expert Witnesses and Produce Expert Reports under

       Fed. R. Civ. P. 26(a)(2): October 13, 2023

   4. Deadline for Opponents to Designate Expert Witnesses and Produce Expert Reports under

       Fed. R. Civ. P. 26(a)(2): November 10, 2023

   5. Deadline for Proponents to Produce Responsive Expert Reports: December 8, 2023

   6. Deadline for Expert Depositions: January 19, 2024

   7. Status Conference: In-person on February 7, 2024 at 10:00am

   8. Deadline to File Dispositive Motions: March 1, 2024

   9. Deadline to File Oppositions to Dispositive Motions: March 29, 2024

   10. Deadline to File Replies in Support of Dispositive Motions: April 19, 2024



The Court intends to discuss a potential date for the final pretrial conference and potential

trial dates at the status conference scheduled for February 7, 2024 at 10:00am.

       It is so ORDERED.
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DATE: December 2, 2022
                                              CARL J. NICHOLS
                                              United States District Judge
